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 7   LICKERISH, INC.
 8
                          UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11   LICKERISH, INC., a California corporation,   Case No. 19cv8888
12                    Plaintiff,
           v.                                     COMPLAINT FOR COPYRIGHT
13
                                                  INFRINGEMENT (17 U.S.C. § 501)
     BARSTOOL SPORTS, INC., a
14
     Massachusetts corporation; and DOES 1-10,
                                                  DEMAND FOR JURY TRIAL
15   inclusive,
16
17                    Defendants.
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                                         COMPLAINT
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 1         Lickerish, Inc. (“Lickerish”), by and through its attorneys of record,
 2   complains against Barstool Sports, Inc. (“Barstool Sports”), a Massachusetts
 3   corporation; and DOES 1 through 10, (collectively, “Defendants”) as follows:
 4                               JURISDICTION AND VENUE
 5         1.       This is a civil action seeking damages and injunctive relief against
 6   Defendants for willful copyright infringement in violation of the Copyright Act, 17
 7   U.S.C. §§ 101 et seq.
 8         2.       This Court has subject matter jurisdiction under the Copyright Act, 17
 9   U.S.C. §§ 101 et seq., 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1338(a)
10   (copyright).
11         3.       Venue is proper in this District under 28 U.S.C. § 1391(b) and 28
12   U.S.C. § 1400(a) in that the acts of infringement complained of herein occurred in
13   this Judicial District, the injury suffered by Plaintiff took place in this Judicial
14   District, and the Defendants may be found and/or transact business in this Judicial
15   District. Defendants are subject to the general and specific personal jurisdiction of
16   this Court because of their contacts with the State of California.
17         4.       This Court has personal jurisdiction over Defendants. Specifically,
18   Defendants have engaged in direct, contributory, vicarious, and/or otherwise
19   induced acts of copyright infringement in this judicial district. Further, Defendants
20   have engaged in continuous and systematic business in California and, upon
21   information and belief, derive substantial revenues from commercial activities in
22   California. Plaintiff is informed and believes and, upon such, alleges that
23   Defendants have also engaged in a multiplicity of acts directed toward California,
24   including without limitation: soliciting and engaging in numerous commercial
25   transactions with California users, operating highly interactive websites, publishing
26   advertisements on www.barstoolsports.com, cdn.barstoolsports.com, and
27   cdn.barstoolsports.net (the “Websites”) geo-targeted to California users, and using
28   the lure of infringing materials to openly encourage California users to visit the
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                                               COMPLAINT
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 1   Websites. As a result, there is a direct and substantial nexus between Plaintiff’s
 2   claims in this case and Defendants’ transaction of business with their California
 3   users.
 4                                          PARTIES
 5            5.   Plaintiff Lickerish, Inc. is a California corporation with its offices and
 6   principal place of business in Rancho Palos Verdes, California.
 7            6.   Plaintiff is informed and believes and, upon such, alleges that
 8   Defendant Barstool Sports, Inc. is a Massachusetts corporation with its principal
 9   place of business in New York City, New York.
10            7.   DOES 1 through 10, inclusive, are unknown to Plaintiff, who therefore
11   sues said Defendants by such fictitious names. Plaintiff will ask leave of Court to
12   amend this Complaint and insert the true names and capacities of said Defendants
13   when the same have been ascertained. Plaintiff is informed and believes and, upon
14   such, alleges that each of the Defendants designated herein as a “DOE” is legally
15   responsible in some manner for the events and happenings herein alleged, and that
16   Plaintiff’s damages as alleged herein were proximately caused by such Defendants.
17                          FACTS COMMON TO ALL COUNTS
18                 The Photos Forming the Subject Matter of This Dispute
19            8.   Lickerish is a high quality photographic syndication company that
20   specializes in celebrity portraiture, fashion, and beauty images. Their works feature
21   some of the most recognizable individuals in the world.
22            9.   Mr. Christopher Lane is a noted international photographer whose work
23   focuses on documentary and portrait photography. Over the years, he has developed
24   his own unique and unmistakable style, and his work has been featured in numerous
25   magazines and advertising campaigns, including Guardian Magazine, London Times
26   Magazine, ESPN Magazine, Fortune Magazine, New York Magazine, and New York
27   Times Magazine, among others. As a renowned photographer in the top of his
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 1   profession, Mr. Lane enjoys high demand for his work and he regularly commands
 2   significant licensing fees for the use of his photographs.
 3         10.    Amongst the hundreds of works that Mr. Lane has authored is a shot of
 4   American actress Mila Kunis (hereinafter, “the Kunis Photo”), which forms the
 5   subject matter of this suit and is attached hereto as Exhibit A. This Photo has been
 6   licensed for significant monetary consideration by major entities that respect
 7   intellectual property rights and the craft reflected in, and economic value provided
 8   by, Mr. Lane’s work.
 9         11.    The Kunis Photo was registered with the United States Copyright
10   Office on or about June 29, 2012 under registration number VA 1-833-167.
11         12.    The Kunis Photo, and all rights, title and interests therein, including the
12   copyrights therein, was assigned by Mr. Lane to Plaintiff Lickerish effective on or
13   about September 25, 2019.
14         13.    Mr. Stephan Wurth is a prominent fine art photographer known for his
15   evocative and striking images of both people and settings. Over the years, he has
16   developed his own unique and unmistakable style, and his work has been featured in
17   numerous magazines and advertising campaigns, including Vogue, The New York
18   Times, Porter Magazine, GQ, Playboy, Esquire, and Sports Illustrated Swimsuit
19   Edition, among others. As a renowned photographer in the top of his profession,
20   Mr. Wurth enjoys high demand for his work and he regularly commands significant
21   licensing fees for the use of his photographs.
22         14.    Amongst the many works that Mr. Wurth has authored is a shot of
23   former professional tennis player and American television personality Anna
24   Kournikova (hereinafter, “the Kournikova Photo”), which forms the subject matter
25   of this suit and is attached hereto as Exhibit B. This Photo has been licensed for
26   significant monetary consideration by major entities that respect intellectual
27   property rights and the craft reflected in, and economic value provided by, Mr.
28   Wurth’s work.
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                                             COMPLAINT
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 1         15.    The Kournikova Photo was registered with the United States Copyright
 2   Office on or about August 6, 2015 under registration number VA 1-979-864.
 3         16.    The Kournikova Photo, and all rights, title and interests therein,
 4   including the copyrights therein, was assigned by Mr. Wurth to Plaintiff Lickerish
 5   effective on or about September 7, 2019.
 6
                       The Defendants and Their Infringing Activities
 7
           17.    Plaintiff is informed and believes and, upon such, alleges that
 8
     Defendants own and operate the commercial websites located at
 9
     www.barstoolsports.com, cdn.barstoolsports.com, and cdn.barstoolsports.net (the
10
     “Websites”). According to www.barstoolsports.com, “Barstool Sports is a sports &
11
     pop culture blog covering the latest news and viral highlights of each and everyday
12
     with blogs, videos and podcasts.”
13
           18.    According to Alexa.com, the website www.barstoolsports.com is listed
14
     in the top 751 domestically and in the top 4,098 globally in terms of traffic rankings
15
     as of October 7, 2019.
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           19.    Plaintiff is informed and believes and, upon such, alleges that the
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     Websites generate significant revenue from the sale of advertising.
18
           20.    Despite Defendants’ economic resources and sophistication on basic
19
     matters of intellectual property law, Defendants have, on information and belief,
20
     violated federal law by willfully infringing the copyrights of Lickerish on the
21
     Websites. Specifically, Defendants have reproduced, distributed and publicly
22
     displayed the Kunis Photo, and derivatives thereof, in both smaller and clickable,
23
     high-resolution formats on the Websites without permission, consent, or license
24
     from Lickerish, the rightsholder to the Kunis Photo True and correct screencaptures
25
     thereof are attached hereto as Exhibit C.
26
           21.    In addition, Defendants have reproduced, distributed and publicly
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     displayed the Kournikova Photo, and derivatives thereof, in both smaller and
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                                             COMPLAINT
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 1   clickable, high-resolution formats on the Websites without permission, consent, or
 2   license from Lickerish, the rightsholder to the Kournikova Photo. True and correct
 3   screencaptures thereof are attached hereto as Exhibit D.
 4         22.     In the marketplace, celebrity photographs such as those at issue in this
 5   case carry tremendous monetary value. Lickerish crafts images of celebrities at a
 6   significant cost and licenses these images to various third parties to create highly
 7   sought after feature spreads and/or advertising online and offline. The exclusive
 8   nature of the Kunis Photo and the Kournikova Photo had substantial monetary value
 9   for their author and owner, which was irreparably harmed by the actions of
10   Defendants.
11         23.     On information and belief, Defendants herein have driven massive
12   traffic to their web properties in part due to the presence of the sought after and
13   searched-for celebrity images. All of this traffic translates into significant ill-gotten
14   commercial advantage and revenue generation for Defendants as a direct
15   consequence of their infringing actions.
16         24.     Barstool Sports and its owners are sophisticated users of intellectual
17   property and they possess full knowledge of the strictures of federal copyright law
18   and the basic requirements for licensing copyrighted content for commercial
19   exploitation. Their entire revenue-generation model depends on luring internet
20   users to their Websites with their third-party content, which consists largely of high
21   resolution photographs of celebrities, and then selling companies advertising space
22   on their site based on their web traffic numbers. Since they regularly make use of
23   copyrighted content and have been in the business of operating the websites for over
24   ten years, Barstool Sports and its owners are fully aware of the need to clear uses of
25   photographs by obtaining permission from, and making payment to, copyright
26   holders. Despite this fact, they have repeatedly faced litigation for their failure to
27   secure appropriate licenses for copyrighted content and this suit only forms part of a
28   pattern of repeated willful misconduct and wanton flouting of the law.
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                                              COMPLAINT
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 1                              FIRST CLAIM FOR RELIEF
 2                        (Copyright Infringement, 17 U.S.C. § 501)
 3         25.    Plaintiff incorporates here by reference the allegations in paragraphs 1
 4   through 24 above.
 5         26.    Lickerish is the owner of the copyrights to the Kunis Photo and the
 6   Kournikova Photo (together “Photos”), which substantially consist of material
 7   wholly original with its authors and which are copyright subject matter under the
 8   laws of the United States. Lickerish has complied in all respects with the Copyright
 9   Act and all of the laws of the United States governing copyrights. The Photos have
10   been timely registered with the United States Copyright Office.
11         27.    Defendants have directly, vicariously and/or contributorily infringed,
12   and unless enjoined, will continue to infringe Lickerish’s copyrights by reproducing,
13   displaying, distributing and utilizing the Photos for purposes of trade in violation of
14   17 U.S.C. § 501 et seq.
15         28.    Defendants have willfully infringed, and unless enjoined, will continue
16   to infringe Lickerish’s copyrights by knowingly reproducing, displaying,
17   distributing and utilizing the Photos for purposes of trade.
18         29.    Defendants have also knowingly induced, caused or materially
19   contributed to the infringing conduct of third parties and/or have obtained a direct
20   financial benefit therefrom while possessing the right and ability to control the
21   infringing conduct of third parties.
22         30.    Defendants have received substantial benefits in connection with the
23   unauthorized reproduction, display, distribution and utilization of the Photos for
24   purposes of trade.
25         31.    All of the Defendant’s acts are and were performed without the
26   permission, license or consent of Lickerish.
27         32.    The said wrongful acts of Defendants have caused, and are causing,
28   great injury to Lickerish, which damage cannot be accurately computed, and unless
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                                             COMPLAINT
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 1   this Court restrains Defendants from further commission of said acts, Lickerish will
 2   suffer irreparable injury, for all of which it is without an adequate remedy at law.
 3   Accordingly, Lickerish seeks a declaration that Defendants are infringing
 4   Lickerish’s copyrights and an order under 17 U.S.C. § 502 enjoining Defendants
 5   from any further infringement of Lickerish’s copyrights.
 6         33.    As a result of the acts of Defendants alleged herein, Lickerish has
 7   suffered and is suffering substantial damage to its business in the form of diversion
 8   of trade, loss of profits, injury to goodwill and reputation, and the dilution of the
 9   value of its rights, all of which are not yet fully ascertainable.
10                                  PRAYER FOR RELIEF
11         WHEREFORE, Plaintiff requests judgment against Defendants as follows:
12          1.    For an order permanently enjoining Defendants, their officers, agents,
13   servants, employees, representatives, and attorneys, and all persons in active concert
14   or participation with them, from designing, copying, reproducing, displaying,
15   promoting, advertising, distributing, or selling, or engaging in any other form of
16   dealing or transaction in, any and all products and services (including advertising
17   and promotional materials, print media, signs, internet web sites, or any other media
18   related thereto), either now known or hereafter devised, that infringe, contributorily
19   infringe, vicariously infringe, or induce infringement of Plaintiff’s copyrights in and
20   to the Photos.
21          2.    For the entry of a seizure order directing the U.S. Marshall to seize and
22   impound all items possessed, owned or under the control of Defendants, their
23   officers, agents, servants, employees, representatives and attorneys, and all persons
24   in active concert or participation with them, which infringe upon Lickerish’s
25   copyrights, including but not limited to any and all broadcasting materials,
26   advertising materials, print media, signs, Internet web sites, domain names,
27   computer hard drives, servers or any other media, either now known or hereafter
28   devised, bearing any design or mark which infringe, contributorily infringe, or
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                                               COMPLAINT
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 1   vicariously infringe upon Lickerish’s copyrights in the Photos as well as all business
 2   records related thereto, including, but not limited to, lists of advertisers, clients,
 3   customers, viewers, distributors, invoices, catalogs, and the like.
 4          3.       For actual damages and disgorgement of all profits derived by
 5   Defendants from their acts of copyright infringement and to reimburse Lickerish for
 6   all damages suffered by reasons of Defendants’ acts, pursuant to 17 U.S.C. §§ 504
 7   (a)(1) & (b).
 8          4.       For an accounting of all profits, income, receipts or other benefit
 9   derived by Defendants from the reproduction, copying, display, promotion,
10   distribution or sale of products and services, or other media, either now known or
11   hereafter devised, that improperly or unlawfully infringe upon Lickerish’s
12   copyrights pursuant to 17 U.S.C. §§ 504 (a)(1) & (b).
13          5.       For statutory damages for copyright infringement, including willful
14   infringement, in accordance with 17 U.S.C. §§ 504(a)(2) & (c).
15          6.       For costs and interest pursuant to 17 U.S.C. §§ 504 (a)(1) & (b), 505.
16          7.       For reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C. §
17   505.
18          8.       For any such other and further relief as the Court may deem just and
19   appropriate.
20
21   Dated: October 16, 2019                  ONE LLP
22
                                               By: /s/ John Tehranian
23
                                                   John Tehranian
24                                                 Robert D. Hunt
25
                                                   Attorneys for Plaintiff
26                                                 LICKERISH, INC.
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                                                COMPLAINT
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  1                             DEMAND FOR JURY TRIAL
  2         Plaintiff hereby demands a trial by jury as to all claims and all issues properly
  3   triable thereby.
  4
  5   Dated: October 16, 2019                ONE LLP
  6
                                             By: /s/ John Tehranian
  7                                              John Tehranian
  8                                              Robert D. Hunt

  9                                              Attorneys for Plaintiff
 10                                              LICKERISH, INC.

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